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UNITED STATES DISTRICT COURT​
SOUTHERN DISTRICT OF NEW YORK



Aubrey “Drake”
Graham,
                                      Plaintiff​
 v.​
 UMG Recordings,
Inc.,
                              Defendant

Case No. 25-00399



MOTION OF JOSEPH ANTHONY REYNA FOR LEAVE TO FILE BRIEF AS AMICUS
CURIAE IN SUPPORT OF NEITHER PARTY



INTRODUCTION

Pursuant to the Court’s inherent authority and Federal Rule of Appellate Procedure 29, I
respectfully submit this motion for leave to file an Amicus Curiae brief in support of neither
party in the above-captioned matter.

My name is Joseph Anthony Reyna, and I appear pro se as the founder of Dreams Over
Dollars™, a Texas-based public interest nonprofit. My work is focused on legal documentation
of economic suppression, digital gatekeeping, and structural artist disenfranchisement in the
music and platform economy.



INTEREST OF THE AMICUS CURIAE

As a nonprofit founder, music professional, and documented whistleblower, I have spent the last
decade submitting federal filings, FOIA requests, and economic loss documentation relating to
systemic harm against independent artists—including whistleblower submissions to the IRS,
SEC, FTC, FCC, DOJ, and multiple state attorneys general.
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My nonprofit’s mission is to restore transparency and economic equity within creative
ecosystems, particularly where algorithmic suppression and platform-linked financial incentives
distort visibility and fairness.

My direct experience with federal agency silence, documented retaliation, and evidence-based
structural analysis gives me a unique position to inform the Court about broader systemic
concerns—including those not directly addressed by the Plaintiff or Defendant—that are
nonetheless highly relevant to the legal and public-interest context of this case.



REASONS TO GRANT LEAVE TO FILE

The submitted brief does not duplicate any party’s arguments. Rather, it presents evidentiary,
historical, and structural documentation critical to understanding the systemic context in
which this litigation now resides. This includes:

   ●​ Whistleblower filings under 26 U.S.C. § 7623(b)​

   ●​ FOIA responses and denials across multiple federal entities​

   ●​ Public record evidence of algorithmic payola, metadata suppression, and suppressed
      royalties​

   ●​ Historical continuity between contemporary suppression and legacy artist exploitation​


This brief seeks not to expand the case, but to preserve the record in a way that promotes
judicial efficiency and future clarity—without disturbing the Court’s adjudication of the parties'
claims.



CERTIFICATION OF INDEPENDENCE

I hereby certify that this brief is submitted entirely independently, without funding, support, or
coordination from any party in this case. I am not aligned with the Plaintiff, Defendant, or their
counsel, nor do I seek outcome-based involvement. My role is solely as an independent
memory holder, filing to preserve systemic truth on behalf of the public and creative
communities affected by this matter.
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CONCLUSION

For the foregoing reasons, I respectfully ask the Court to grant leave to file the attached Amicus
Curiae Brief in support of neither party, and to consider it as part of the Court’s preserved
record in this matter.



Respectfully Submitted,

Joseph Anthony Reyna​
 Pro Se Amicus Curiae​
 Founder, Dreams Over Dollars™​
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 Austin, TX 78731​
 WhiteHat@JoeCattt.com | (956) 202-5580

Dated: April 7, 2025



CERTIFICATE OF SERVICE

I hereby certify that on April 7th, a true and correct copy of the foregoing Motion for Leave to
File Amicus Curiae Brief and the attached brief were served upon counsel for the Plaintiff and
Defendant via certified mail and/or email:

   ●​ Plaintiff’s Counsel:​
      Michael J. Gottlieb​
      Willkie Farr & Gallagher LLP​
      1875 K Street, NW​
      Washington, DC 20006​

   ●​ Defendant’s Counsel:​
      Sidley Austin LLP​
      787 Seventh Avenue​
      New York, NY 10019​


Copies were also provided to the Court under sealed cover with accompanying materials,
including supporting documentation and sworn affidavits, previously submitted.
